Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 1 of 7 PageID #: 4916




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE
In re:                                                 )
                                                       )
NUVERRA ENVIRONMENTAL                                  )   Bankruptcy Case No. 17-10949 (KJC)
SOLUTIONS, INC., et al.,                               )
                                                       )
                   Reorganized Debtors.                )
                                                       )
DAVID HARGREAVES,
                                                       )
                            Appellant,                 )
          vs.                                          )
                                                       )   Civil Action No. 17-cv-01024 (RGA)
NUVERRA ENVIRONMENTAL                                  )
SOLUTIONS, INC., et al.,                               )
                            Appellees.                 )


           NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT

          David Hargreaves, appellant, appeals to the United States Court of Appeals for the Third

Circuit from the Order (D.I. 47) of the United States District Court for the District of Delaware

entered in the above-captioned bankruptcy appeal on August 21, 2018 (the “Order”), dismissing

appellant’s appeal of the plan confirmation order in the above-captioned cases under chapter 11

of the Bankruptcy Code1 on grounds of equitable mootness and, alternatively, affirming the

confirmation order as consistent with existing precedent as more fully set forth in the

Memorandum (D.I. 46) dated August 21, 2018 (the “Memorandum”). True and correct copies of

the Order and the Memorandum are attached hereto as Exhibits A and B, respectively.



1
    The Debtors in these proceedings (including the last four digits of their respective taxpayer identification
    numbers) are: Nuverra Environmental Solutions, Inc. (7117), Appalachian Water Services, LLC (0729), Badlands
    Leasing, LLC (2638), Badlands Power Fuels, LLC (DE) (8703), Badlands Power Fuels, LLC (ND) (1810),
    Heckmann Water Resources Corporation (1194), Heckmann Water Resources (CVR), Inc. (1795), Heckmann
    Woods Cross, LLC (9761), HEK Water Solutions, LLC (8233), Ideal Oilfield Disposal, LLC (5796), Landtech
    Enterprises, L.L.C. (9022), NES Water Solutions, LLC (3421), Nuverra Total Solutions, LLC (6218), and 1960
    Well Services, LLC (5084). The Debtors’ corporate headquarters is located at 14624 N. Scottsdale Rd., Suite 300,
    Scottsdale, Arizona 85254.
Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 2 of 7 PageID #: 4917



        The parties to the Order appealed from and the names, addresses and telephone numbers

of their respective attorneys are as follows:

Party                                               Counsel

Appellant

David Hargreaves                                DRINKER BIDDLE & REATH LLP
                                                Steven K. Kortanek (Del. Bar No. 3106)
                                                222 Delaware Ave., Suite 1410
                                                Wilmington, Delaware 19801-1621
                                                Tel: (302) 467-4200
                                                Fax: (302) 467-4201
                                                E-mail: steven.kortanek@dbr.com

                                                -and-

                                                James H. Millar (admitted pro hac vice)
                                                Clay J. Pierce (admitted pro hac vice)
                                                Stacy A. Lutkus (admitted pro hac vice)
                                                1177 Avenue of the Americas, 41st Fl.
                                                New York, New York 10036-2714
                                                Tel: (212) 248-3140
                                                Fax: (212) 248-3141
                                                E-mail: james.millar@dbr.com;
                                                clay.pierce@dbr.com;
                                                stacy.lutkus@dbr.com

Appellees

Nuverra Environmental Solutions, Inc., et al.   SHEARMAN & STERLING, LLP
                                                Fredric Sosnick
                                                William J.F. Roll, III
                                                Sara Coelho
                                                Stephen M. Blank
                                                599 Lexington Avenue
                                                New York, New York 10022-6069
                                                Tel: 212-848-4000
                                                E-mail: fsosnick@shearman.com;
                                                wroll@shearman.com;
                                                sara.coelho@shearman.com;
                                                stephen.blank@shearman.com

                                                -and-




                                                2
Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 3 of 7 PageID #: 4918



                                      YOUNG CONAWAY STARGATT &
                                      TAYLOR, LLP
                                      Pauline K. Morgan
                                      Kenneth J. Enos
                                      Jaime Luton Chapman
                                      Rodney Square
                                      1000 North King Street
                                      Wilmington, Delaware 19801
                                      Tel: 302-571-6600
                                      E-mail: pmorgan@ycst.com;
                                      kenos@ycst.com;
                                      jchapman@ycst.com

Interested Parties

Supporting Noteholders                FRIED, FRANK, HARRIS, SHRIVER &
                                      JACOBSON, LLP
                                      Brad Eric Scheler
                                      Jennifer Rodburg
                                      Carl I. Stapen
                                      One New York Plaza
                                      New York, New York 10004
                                      Tel: 212-859-8019 (Scheler)
                                      212-859-8520 (Rodburg)
                                      212-859-8022 (Stapen)
                                      E-mail: brad.scheler@friedfrank.com;
                                      jennifer.rodburg@friedfrank.com;
                                      carl.stapen@friedfrank.com

                                      -and-

                                      PACHULSKI STANG ZIEHL & JONES LLP
                                      Laura Davis Jones
                                      Peter J. Keane
                                      919 North Market Street
                                      17th Floor
                                      Wilmington, Delaware 19801
                                      Tel: 302-652-4100
                                      E-mail: ljones@pszjlaw.com;
                                      pkeane@pszjlaw.com




                                     3
Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 4 of 7 PageID #: 4919



Official Committee of Unsecured Creditors   KILPATRICK TOWNSEND & STOCKTON
                                            LLP
                                            Todd C. Meyers
                                            Paul M. Rosenblatt
                                            Michael D. Langford
                                            1100 Peachtree Street N.E.
                                            Suite 2800
                                            Atlanta, Georgia 30309
                                            Tel: 404-815-6500
                                            E-mail: tmeyers@kilpatricktownsend.com;
                                            prosenblatt@kilpatricktownsend.com;
                                            mlangford@kilpatricktownsend.com

                                            -and-

                                            LANDIS RATH & COBB LLP
                                            Richard S. Cobb
                                            Matthew B. McGuire
                                            Travis J. Ferguson
                                            919 North Market Street
                                            Suite 1800
                                            Wilmington, Delaware 19801
                                            Tel: 302-467-4400
                                            E-mail: cobb@lrclaw.com;
                                            mcguire@lrclaw.com;
                                            ferguson@lrclaw.com

U.S. Trustee                                Mark S. Kenney
                                            Office of the United States Trustee
                                            844 King Street
                                            Suite 2207
                                            Wilmington, Delaware 19801
                                            Tel: 302-573-6491
                                            E-mail: mark.kenney@usdoj.gov

Dated: September 19, 2018                   DRINKER BIDDLE & REATH LLP
       Wilmington, Delaware
                                            /s/ Steven K. Kortanek
                                            Steven K. Kortanek (Del. Bar No. 3106)

                                            222 Delaware Ave., Suite 1410
                                            Wilmington, DE 19801-1621
                                            Telephone: (302) 467-4200
                                            Facsimile: (302) 467-4201
                                            steven.kortanek@dbr.com




                                            4
Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 5 of 7 PageID #: 4920



                                      -and-

                                      James H. Millar (admitted pro hac vice)
                                      Clay J. Pierce (admitted pro hac vice)
                                      Stacy A. Lutkus (admitted pro hac vice)
                                      1177 Avenue of the Americas, 41st Fl.
                                      New York, NY 10036-2714
                                      Tel: (212) 248-3140
                                      Fax: (212) 248-3141
                                      james.millar@dbr.com;
                                      clay.pierce@dbr.com;
                                      stacy.lutkus@dbr.com

                                      Counsel for Appellant




                                     5
Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 6 of 7 PageID #: 4921




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE
In re:                                         )
                                               )
NUVERRA ENVIRONMENTAL                          )   Bankruptcy Case No. 17-10949 (KJC)
SOLUTIONS, INC., et al.,                       )
                                               )
                Reorganized Debtors.           )
                                               )
DAVID HARGREAVES,
                                               )
                        Appellant,             )
         vs.                                   )
                                               )   Civil Action No. 17-cv-01024 (RGA)
NUVERRA ENVIRONMENTAL                          )
SOLUTIONS, INC., et al.,                       )
                        Appellees.             )


                                 CERTIFICATE OF SERVICE

         I, Steven K. Kortanek, hereby certify that on September 19, 2018, I caused the foregoing

Notice of Appeal to the United States Court of Appeals for the Third Circuit (the “Notice”)

to be electronically filed with the Clerk of the Court using the CM/ECF System for the District

of Delaware (the “CM/ECF System”) which will send notification of such filing to all parties

who are participants in the CM/ECF System in accordance with D. Del. L.R. 5.2. I further

certify that I caused a copy of the Notice to be served on the following counsel by First Class

U.S. Mail, postage prepaid:

SHEARMAN & STERLING, LLP                           YOUNG CONAWAY STARGATT &
Fredric Sosnick                                    TAYLOR, LLP
William J.F. Roll, III                             Pauline K. Morgan
Sara Coelho                                        Kenneth J. Enos
Stephen M. Blank                                   Jaime Luton Chapman
599 Lexington Avenue                               Rodney Square
New York, New York 10022-6069                      1000 North King Street
                                                   Wilmington, Delaware 19801
Counsel for Appellees Nuverra Environmental
Solutions, Inc., et al.                            Counsel for Appellees Nuverra Environmental
                                                   Solutions, Inc., et al.
Case 1:17-cv-01024-RGA Document 48 Filed 09/19/18 Page 7 of 7 PageID #: 4922



FRIED, FRANK, HARRIS, SHRIVER &               PACHULSKI STANG ZIEHL & JONES LLP
JACOBSON, LLP                                 Laura Davis Jones
Brad Eric Scheler                             Peter J. Keane
Jennifer Rodburg                              919 North Market Street
Carl I. Stapen                                17th Floor
One New York Plaza                            Wilmington, Delaware 19801
New York, New York 10004
                                              Counsel for Interested Party Supporting
Counsel for Interested Party Supporting       Noteholders
Noteholders

KILPATRICK TOWNSEND & STOCKTON                LANDIS RATH & COBB LLP
LLP                                           Richard S. Cobb
Todd C. Meyers                                Matthew B. McGuire
Paul M. Rosenblatt                            Travis J. Ferguson
Michael D. Langford                           919 North Market Street
1100 Peachtree Street N.E.                    Suite 1800
Suite 2800                                    Wilmington, Delaware 19801
Atlanta, Georgia 30309
                                              Counsel for Interested Party Official
Counsel for Interested Party Official         Committee of Unsecured Creditors
Committee of Unsecured Creditors

Mark S. Kenney
Office of the United States Trustee
844 King Street
Suite 2207
Wilmington, Delaware 19801

Interested Party U.S. Trustee

                                          DRINKER BIDDLE & REATH LLP

                                          By: /s/ Steven K. Kortanek
                                          Steven K. Kortanek (Del. Bar No. 3106)

                                          222 Delaware Ave., Suite 1410
                                          Wilmington, DE 19801-1621
                                          Telephone: (302) 467-4200
                                          Facsimile: (302) 467-4201
                                          steven.kortanek@dbr.com




                                          2
